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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

THOMAS N. WILLIAMS,                     *
                                        *
              Plaintiff,                *
                                        *
       v.                               *          1:21-CV- 02527-ELR
                                        *
VICTOR HILL, et al.,                    *
                                        *
              Defendants.               *
                                        *
                                   _________

                                  ORDER
                                  _________

      This case is before the Court on Magistrate Russell G. Vineyard’s Final

Report and Recommendation (“R&R”). [Doc. 5]. The Court “may accept, reject,

or modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b)(3). No

objections to the Magistrate Judge’s R&R have been filed, and thus, the Court has

reviewed the R&R for clear error. See Thomas v. Arn, 474 U.S. 140, 154 (1985);

Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006); Tauber v. Barnhart,

438 F. Supp. 2d 1366, 1373 (N.D. Ga. 2006). The Court finds no error.

      Accordingly, the Court ADOPTS the R&R [Doc. 5] as the opinion of this

Court. For the reasons stated in the R&R, the Court DISMISSES WITHOUT

PREJUDICE this action. Lastly, the Court DIRECTS the Clerk to close this case.
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SO ORDERED, this 23rd day of September, 2021.



                                   ______________________
                                   Eleanor L. Ross
                                   United States District Judge
                                   Northern District of Georgia




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